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 4   Facsimile: (559) 513-8530

 5   Attorney for Defendant,
     Alexander Paul Schaibly
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 8
                                       UNITED STATES DISTRICT COURT
 9
                                       EASTERN DISTRICT OF CALIFORNIA
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11
     UNITED STATES OF AMERICA,                        6:18-mj-00006-MJS
12
                          Plaintiff,
13                                                     REQUEST TO APPEAR
             v.                                        TELEPHONICALLY AT MAY 16, 2018
14                                                     STATUS CONFERENCE; ORDER
     ALEXANDER PAUL SCHAIBLY,                          THEREON
15
                          Defendant.
16

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18           The Defendant, ALEXANDER PAUL SCHAIBLY, and his attorney of record, CAROL
19
     ANN MOSES, request that Counsel be allowed to appear telephonically at the May 16, 2018
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     Status Conference.
21
             Defense counsel is trying to economize her travel time to U.S. District Court in
22

23   Yosemite National Park by only driving to Yosemite when she has multiple cases on calendar and

24   not when there is just one case for which she is to appear.

25
     Dated: May 11, 2018                                  /s/ Carol Ann Moses
26                                                        CAROL ANN MOSES
27                                                        Attorney for Defendant,
                                                          Alexander Paul Schaibly
28
     REQUEST FOR DEFENSE COUNSEL TO APPEAR BY
     TELEPHONE AT MAY 16, 2018 STATUS CONFERENCE;
     [PROPOSED] ORDER THEREON
                                                                                                 1
        Case 6:18-mj-00006-MJS Document 12 Filed 05/14/18 Page 2 of 2


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 3
                                                     ORDER
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              The Court, having reviewed the above request HEREBY ORDERS AS FOLLOWS:
 6                        1.   The Court grants the above Request for Defense Counsel to appear
 7
                               telephonically at the Status Conference on May 16, 2018; and the above
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                               Request is adopted as its terms for the Order of this Court.
 9
                          2.   Accordingly, Attorney for Alexander Paul Schaibly, Carol Moses, will
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11                             appear telephonically at the Status Conference, for Case No. 6:18-mj-

12                             00006-MJS, on May 16, 2018, at 10:00 AM.

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     Dated:      May 14, 2018                                  /s/   Jeremy D. Peterson
16                                                        UNITED STATES MAGISTRATE JUDGE
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28
     REQUEST FOR DEFENSE COUNSEL TO APPEAR BY
     TELEPHONE AT MAY 16, 2018 STATUS CONFERENCE;
     [PROPOSED] ORDER THEREON
                                                                                                   2
